Case 3:23-cr-00126-MEM Document 18 Filed 06/30/23 Page 1 of 2

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA =: No. 3:23-CR-126

v. : (JUDGE MANNION)
RALPH PARRY, : (Electronically Filed)
Defendant
WAIVER OF INDICTMENT

1. JI understand that I am charged with a felony and, therefore,
that I have the right to have the case presented to a grand jury. I
further understand that a grand jury consists of not less than sixteen (16)
nor more than twenty-three (23) members, at least twelve (12) of whom
must concur in the return of an indictment. Thus, by waiving
indictment, I concede that had the case been presented to a grand jury,
an indictment would have been returned.

2. Iam represented by attorney, Leo A. Latella Esquire: I fully
understand that I have the right to be represented by an attorney at
every stage of this proceeding and, if necessary, one will be appointed to
represent me. I have discussed this matter with my attorney and am

satisfied with his representation of me in this proceeding.
Case 3:23-cr-00126-MEM Document 18 Filed 06/30/23 Page 2 of 2

3. I fully understand this statement, consisting of two (2)

typewritten pages.

Ylse, fia A Zit

RALPH PARRY LEO A. LATELLA, ESQ
Defendant Counsel for Defendant

